Order ID
Order Date

Bill To

Ship To

Paid On
Payment Method

Item
DX-Drops500

Return Policy

Quantity

ice

HEMRX-201209171913-000492
17 SEP 2012 19:13:02

Cindy Harp-horn

195 Parker road
Lockwood, NY 14859
6073218022
ladydeathz @ hotmail.com

Cindy Harp-horn

195 Parker road
Lockwood, Ny 14859
6073218022

19 SEP 2012
Discover (Ending in 4019)

Description
Dixie X CBD Dew Drops 500mg Tincture

Case 1:15-cv-00701-JWF Docyment 60-10 Filed 08/30/18 Page 1 of 2

MTNA

Unit Cost Amount

160.00 160.00

Subtotal 160.00

Tax 0.00
Shipping/Handling 7.95
Total $167.95

Paid via Credit Card ($167.95)
Outstanding Balance $0.00

We take customer satisfaction very seriously, all our products are tested for quality and all shipments are carefully inspected
before leaving our warehouse.

Please check your shipment carefully upon arrival to ensure it has not been damaged during shipping. All claims for damaged
product must be made with 72hrs. Please contact us and provide detailed information for any product damaged during shipping

within that time.

Due the nature of our products all sales are final. NO REFUNDS shail be given.

Customer Service
Dixie X
info @ dixiex.com

866-920-4262

Case 1:15-cv-00701-JWF Pack Sip Filed 08/30/18 Page 2 of 2

Order ID
Order Date

Bill To

Ship To

Ship To Phone
Email

Shipped On
Shipped Via
Payment Method

Item
DX-Drops500

Return Policy

Quantity

HEMRX-201209171913-000492
17 SEP 2012 19:13:02

Cindy Harp-horn

195 Parker road
Lockwood, NY 14859
6073218022
ladydeathz @ hotmail.com

Cindy Harp-horn
195 Parker road
Lockwood, Ny 14859

6073218022
ladydeathz @ hotmail.com
19 SEP 2012

USPS Flat Rate Shipping
Discover

Description
Dixie X CBD Dew Drops 500mg Tincture

MITA

Unit Cost Amount

160.00 160.00

Subtotal 160.00

Tax 0.00
Shipping/Handling 7.95
Total $167.95

We take customer satisfaction very seriously, all our products are tested for quality and all shipments are carefully inspected
before leaving our warehouse.

Please check your shipment carefully upon arrival to ensure it has not been damaged during shipping. All claims for damaged
product must be made with 72hrs. Please contact us and provide detailed information for any product damaged during shipping

within that time.

Due the nature of our products all sales are final. NO REFUNDS shall be given.

Customer Service
Dixie X

info @dixiex.com
866-920-4262

